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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

        Plaintiff,

 v.                                                       Case No. 11-20551-14

 WALEED YAGHMOUR,

        Defendant.
                                                /

      ORDER GRANTING “GOVERNMENT’S MOTION FOR DISCLOSURE OF TAX
              RETURNS AND TAXPAYER RETURN INFORMATION”

        On May 31, 2013, the Government moved for disclosure of tax return and

 taxpayer return information pursuant to 26 U.S.C. § 6103(i)(4)(A). Under that statute, in

 a judicial proceeding where the United States is a party, a tax return or taxpayer return

 information may be disclosed “pertaining to enforcement of a specifically designated

 Federal criminal statute . . . if the court finds that such return or taxpayer return

 information is probative of a matter in issue relevant in establishing the commission of a

 crime or the guilt or liability of a party.” Defendant is charged with conspiracy to

 distribute controlled substances in violation of 21 U.S.C. §§ 841, 846 and money

 laundering in violation of 18 U.S.C. § 1957. The Government contends that Defendant’s

 tax return and taxpayer return information may be relevant to these charges. Having

 reviewed the motion and Defendant’s response, the court agrees. Accordingly,

        IT IS ORDERED that the “Government’s Motion for Disclosure of Tax Returns

 and Taxpayer Return Information” [Dkt. # 535] is GRANTED.

        IT IS FURTHER ORDERED that the Government is PERMITTED to disclose to
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 the court and to Defendant the tax returns and taxpayer return information of Waleed

 Yaghmour for the years 2003 to 2011 and of Sav-Mart Pharmacy LLC for the years

 2004 to 2011. The disclosed tax returns and taxpayer return information may be used

 in discovery, during pre-trial proceedings, and as evidence at trial.



                                                            s/Robert H. Cleland
                                                           ROBERT H. CLELAND
                                                           UNITED STATES DISTRICT JUDGE

 Dated: February 14, 2014


 I hereby certify that a copy of the foregoing document was mailed to counsel of record
 on this date, February 14, 2014, by electronic and/or ordinary mail.

                                                            s/Lisa Wagner
                                                           Case Manager and Deputy Clerk
                                                           (313) 234-5522




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